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In the Guited States District Court
for the Southern District of Georgia
Brunswick Division

JAMAL E. COLLINS,
Plaintiff,
CV 518-073

Vv.

THOMAS FERRELL, et al.,

Defendants.

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Before the Court is Plaintiff Jamal Collins’s Motion to be
Heard on Appeal. Dkt. No. 126. Therein, Plaintiff expresses that
he is unfamiliar with the logistics of pursuing an appeal and would
like counsel appointed for him or instructions on how to file an
appeal. Id.

First, Plaintiff’s motion for appointment of counsel is
DENIED. “A civil litigant, including a prisoner pursuing a section
1983 action, has no absolute constitutional right to the
appointment of counsel. The appointment of counsel is instead a
privilege that is justified only by exceptional circumstances[.]”
McCall v. Cook, 495 F. App'x 29, 31 (11th Cir. 2012) (quoting Poole
v. Lambert, 819 F.2d 1025, 1028 (11th Cir. 1987) (citations
omitted)). This case involves no exceptional circumstances, and

the record shows Plaintiff was able to adequately present his case.
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As for Plaintiff’s motion for instructions on how to file an
appeal, his motion is DENIED as moot. Plaintiff has successfully
filed a Notice of Appeal in this Court, dkt. no. 124, and the
record has been transmitted to the Eleventh Circuit Court of
Appeals, dkt. no. 125. The Eleventh Circuit will provide Plaintiff
with the information he needs to pursue his appeal.

SO ORDERED this J? day of November, 2021.

 

HON. LISA GODBEY WOOD, JUDGE
UNITED ATATES DISTRICT COURT
SOUQHPRN DISTRICT OF GEORGIA
